 

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

 

Caption in Compliance with D.N.J. LBR 9004-2(c)
Edmond M. George, Esquire

OBERMAYER REBMANN MAXWELL & HippeL LLP
Woodland Falls Corporate Park

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Cherry Hill, NJ 08002-1171

(856) 795-3300

Proposed Attorneys to Debtor

 

In Re:
MASSIMO’S CAFE, LLC,

Debtor.

 

 

 

Chapter 11

Case No.

APPLICATION FOR RETENTION OF PROFESSIONAL

1. The applicant, Massimo’s Cafe, LLC (the “Applicant” or “Debtor’”), is the (check

all that apply):
[_] Trustee: [-] Chap.7 [-] Chap.11 (] Chap. 13.
xX Debtor: [|] Chap. 11 [] Chap. 13
[] Official Committee of Unsecured Creditors
2. The Applicant seeks to retain the following professional, Obermayer Rebmann

Maxwell & Hippel LLP (“Obermayer”), to serve as (check all that apply):

x Attorney for: [_] Trustee [X] Debtor-in-Possession

[_] Official Committee of Unsecured Creditors

[_] Accountant for: [] Trustee [| Debtor-in-possession

[_] Official Committee of

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[-] Other Professional:
[-] Realtor [| Appraiser [-] Special Counsel
[-} Auctioneer [-] Other (specify):

3, The employment of the professional is necessary because:. Applicant desires to
retain the firm of Obermayer as its counsel to represent Applicant in this Chapter
11 bankruptcy proceeding.

4, The professional has been selected because: Its members have considerable
experience in representing debtors in Chapter 1] matters and Applicant believes
the firm of Obermayer is well qualified to represent the Debtor.

5. The professional services to be rendered are as follows:

(a) to give advice to the Applicant with respect to its powers and duties;
(b) assisting the Applicant in the preparation of any legal papers;

(c) performing all other legal services for the Applicant; and

(d) assessing the Applicant’s ability to confirm a plan of reorganization

6. The proposed arrangement for compensation is as follows: Obermayer will charge
a discount from its customary hourly rates, and will charge $450.00-$350.00 for
attorneys and $100.00 per hour for paralegals, depending upon the level of
seniority of the individual performing the services, which are adjusted annually.
Compensation for services will be fixed by the Court upon proper application.

7. To the best of the Applicant’s knowledge, the professional’s connection with the
debtor, creditors, any other party in interest, their respective attorneys and
accountants, the United States trustee, or any person employed in the office of the

United States trustee, is as follows:

<] None

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LI Describe connection: .

8. To the best of the applicant’s knowledge, the professional (check all that apply):
LX] does not hold an adverse interest to the estate.
LX] does not represent an adverse interest to the estate.
XI is a disinterested person under 11 US.C. § 101(14).
[1 does not represent or hold any interest adverse to the debtor or the estate with
respect to the matter for which he/she will be retained under 11 U.S.C. § 327(e),

[| Other; explain:

 

 

 

9. If the professional is an auctioneer, appraiser or realtor, the location and
description of the property is as follows: n/a
WHEREFORE, the Applicant respectfully requests authorization to employ the
professional to render services in accordance with this application, with compensation to

be paid as an administrative expense in such amounts as the Court may determine and

  
 
   

allow.

Date: b-/ Y ~ [7

Srfiiature of Applicant

Vincenzo Mazzella

Name of Applicant =~

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